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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

    State of Georgia, et al.,
                   Plaintiffs,
            v.
                                                         Case No. 2:15-cv-79-LGW-RSB
    Andrew Wheeler, et al.,
                Defendants.

    REPLY BRIEF IN SUPPORT OF PLAINTIFF STATES’ MOTION FOR
       SUMMARY JUDGMENT AND RESPONSE TO INTERVENOR-
      DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT

        In their opening brief, the Plaintiff States showed that the 2015 WOTUS Rule is an

unprecedented and unauthorized expansion of federal jurisdiction over state lands and waters—a

federal overreach that this Court and others have already concluded is likely illegal. In their

responses, neither the Agencies nor Intervenor-Defendants offer a persuasive defense of the

Rule. Indeed, the Agencies do not even try to defend the substance of the Rule; after first asking

this Court to not decide the case (recycling already-rejected “prudential ripeness” arguments), the

Agencies take “no position” on the Plaintiff States’ substantive challenges to the Rule. In fact,

the Agencies point out that they have “expressed concern” that the WOTUS Rule “may not

comport with and accurately implement the legal limits on” their jurisdiction under the Clean

Water Act (CWA); may “test the limits of the scope of the Commerce Clause”; and may have

impermissibly “altered the balance of authorities between the federal and State governments.”

Such statements of doubt from the very agencies that promulgated the Rule do not instill

confidence in its legality.

        Intervenor-Defendants take up the substantive defense of the Rule in the Agencies’ stead,

but they ultimately offer no argument that saves the Rule from its fatal defects. Among other

problems, they cannot explain away the Rule’s clear inclusion of various categories of features—

ditches, trickles, and more—that Justice Kennedy’s controlling Rapanos opinion deems beyond

the Clean Water Act’s jurisdictional grant. And Intervenor-Defendants’ reliance on Chevron

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deference is particularly misguided, since the Agencies themselves—the only parties that could

be entitled to such deference—do not seek it.

          The Agencies and Intervenor-Defendants fare no better in defending against the Plaintiff

States’ procedural challenges. Most importantly, neither shows where the proposed rule notified

interested parties that the WOTUS Rule might define adjacent and case-by-case waters according

to five specific distance-based limitations. The Agencies point to vague and generalized phrases

in the proposed rule like “lateral reach” and “sufficiently close,” none of which indicated that

they were considering or might include in the final rule fixed numeric distances as determinative
limitations on jurisdictional waters, much less what range of distances was under consideration.

In addition, the Defendants fail to point to any reasoned, science-based justification for those

particular limits, which makes them arbitrary and capricious, in violation of the Administrative

Procedure Act (APA).

          In short, the Defendants’ responses offer no reason for this Court to retreat from its

preliminary conclusion that the WOTUS Rule is likely illegal. It was and remains a rule that

exceeds the Agencies’ statutory authority, violates the Constitution, and violates the APA’s

procedural requirements. This Court should therefore grant summary judgment in the Plaintiff

States’ favor and vacate the Rule in its entirety.1

                                            ARGUMENT

I.     This Court, the Supreme Court, and courts around the country have properly rejected
       the Agencies’ prudential ripeness arguments.
          The Agencies once again ask this Court to decline to adjudicate this case as a matter of
prudential ripeness because they have proposed to repeal the WOTUS Rule. ECF No. 215

(Agencies’ Br.) at 15–19; see ECF No. 134 (Agencies’ motion to stay) at 9–11. This Court

already rejected that invitation once, see ECF Nos. 134, 140 (States’ response), 143 (Agencies’


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    Plaintiff North Carolina Department of Environmental Quality joins Part III.A of this brief only.



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reply), 144 (order denying motion to stay), and the argument has not improved with age. As an

initial matter, this argument remains on shaky doctrinal footing. The Supreme Court has recently

questioned the “continuing vitality of the prudential ripeness doctrine,” which permits a federal

court to decline to adjudicate a claim on “prudential” grounds even if the plaintiffs have

established Article III standing. Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2347 (2014).

The Court cautioned that that result would be “in some tension with our recent reaffirmation of

the principle that a federal court’s obligation to hear and decide cases within its jurisdiction is

virtually unflagging.” Id. (citations omitted). Just so here. As the Supreme Court explained in its
decision holding that district courts have original jurisdiction to review challenges to the

WOTUS Rule, the Plaintiff States have Article III standing: “Because the WOTUS Rule remains

on the books for now, the parties retain a concrete interest in the outcome of this litigation, and it

is not impossible for a court to grant any effectual relief … to the prevailing party.” Nat’l Ass’n

of Mfrs. v. Dep’t of Def., 138 S. Ct. 617, 627 n.5 (2018) (alteration in original) (citations

omitted). In short, the Agencies have not divested this Court of jurisdiction by merely proposing

repeal of the challenged rule, and Susan B. Anthony List makes clear that this Court should

exercise that jurisdiction to decide this case.

        Whatever the validity of the doctrine, however, the Agencies’ prudential ripeness

argument fails on the merits. This Court already rejected the same argument in denying the

Agencies’ motion to stay this litigation at the preliminary-injunction stage, ECF No. 144 (order

denying motion to stay), as have other courts that have considered it in the context of WOTUS

litigation. See Motion to Hold the Briefing Schedule in Abeyance at 3–4, Nat’l Ass’n of Mfrs.,

138 S. Ct. 617 (No. 16-299); Nat’l Ass’n of Mfrs., No. 16-299 (Apr. 3, 2017) (Order Denying

Motion to Hold the Briefing Schedule in Abeyance); see also North Dakota v. U.S. EPA, No.

3:15-cv-59 (D.N.D. March 23, 2018), ECF No. 185 (Order Granting Motion to Lift Stay;

Denying Motion for Stay) at 11, 15–16. That is for good reason: this case remains fit for judicial

review. It is still a final, “definitive” agency regulation, Pub. Citizen Health Research Grp. v.

Comm’r, FDA, 740 F.2d 21, 31 (D.C. Cir. 1984), coming “at the end of a rulemaking

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proceeding,” Consol. Rail Corp. v. United States, 896 F.2d 574, 577 (D.C. Cir. 1990). The

Plaintiff States’ claims still involve “purely legal” challenges under the CWA, the APA, and the

Constitution, id., and no “further factual development” is necessary, Susan B. Anthony List, 134

S. Ct. at 2347 (citation omitted).

       The Agencies contend that the case is unfit for judicial resolution because they have

proposed to repeal and replace the WOTUS Rule, which would moot the litigation. Agencies’ Br.

at 17–18. But that proposed rule was already in place the last time the Court considered and

rejected this argument. See ECF Nos. 134, 144; see also ECF No. 174 (order granting
preliminary injunction) at 21 (holding that the Court “can and must analyze the situation based

on the present state of the law,” and explaining that the “possibility that the agency will reverse

its position [does not] alleviate the harm already set in motion”). Moreover, the Agencies’

proposed repeal does not implicate the rationale for the prudential ripeness doctrine in

administrative law cases: preventing courts from “inappropriately interfer[ing] with further

administrative action” by “entangling themselves in abstract disagreements over administrative

policies.” Pittman v. Cole, 267 F.3d 1269, 1278 (11th Cir. 2001) (quoting Ohio Forestry Ass’n,

Inc. v. Sierra Club, 523 U.S. 726, 733 (1998)); Abbott Labs. v. Gardner, 387 U.S. 136, 148–49

(1967)). The Agencies do not explain how a decision from this Court would interfere with their

still-pending proposed rulemaking. In fact, they point out that some of the potential legal defects

of the WOTUS Rule that they cited in their proposed repeal as reasons for repealing the Rule

“are the same ones raised by the challengers on summary judgment.” Agencies’ Br. at 17. Thus,

far from interfering with the rulemaking, a decision from this Court on those issues presumably

would help the administrative decisionmaking process by providing further clarity as to whether

those reasons in fact require repealing the Rule.

       The Agencies also claim that the Court’s preliminary injunction prevents any delay in the

resolution of this suit from causing Plaintiff States hardship. Id. at 19 (reasoning that the

challengers do not “face any impending harm because there is no suggestion that the Court will

lift the injunction any time soon”). For starters, this Court “need not consider” hardship;

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“where ... there are no significant agency or judicial interests militating in favor of delay, lack of

‘hardship’ cannot tip the balance against judicial review.” Harrell v. Fla. Bar, 608 F.3d 1241,

1259 (11th Cir. 2010) (alterations in original) (cleaned up). In any event, the Agencies cite no

law for the proposition that a preliminary injunction issued by a court entertaining a lawsuit

eliminates hardship in a way that makes a case prudentially unripe. Nor could they: If that were

the case, suits would become prudentially unripe anytime a court issued a preliminary injunction.

That is not—and cannot—be the law. Instead, the preliminary injunction in this case is just

that—preliminary—and remains subject to future modification or suspension. Apart from the
Court’s injunction, then, “the possibility that the agency will reverse its position [does not]

alleviate the harm already set in motion,” ECF No. 174 at 21, and does not support Defendants’

prudential ripeness arguments.

II.   The WOTUS Rule violates the Clean Water Act.
        The Plaintiff States have shown that the WOTUS Rule’s criteria for deeming waters

jurisdictional are significantly broader than—and thus fail to satisfy—Justice Kennedy’s

standard for the CWA’s jurisdictional scope, which the Eleventh Circuit has held is the

controlling legal test. ECF No. 203 (States’ Br.) at 9–15; United States v. Robison, 505 F.3d.

1208, 1222 (11th Cir. 2007). The Agencies not only decline to defend the Rule against these

arguments, Agencies’ Br. at 36–37, but have conceded in their supplemental rulemaking notice

that “court rulings against the 2015 Rule suggest that the interpretation of the ‘significant nexus’

standard as applied in the 2015 Rule may not comport with and accurately implement the legal

limits on CWA jurisdiction intended by Congress and reflected in decisions of the Supreme

Court,” Definition of “Waters of the United States”—Recodification of Preexisting Rule, 83 Fed.

Reg. 32,227, 32,228 (July 12, 2018).

        Intervenor-Defendants, for their part, make numerous generalized appeals to science

without explaining or showing, with reference to the administrative record or otherwise, how the

Rule’s criteria for covered waters—rather than other less expansive criteria—are tailored to


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ensure that all covered waters “significantly affect the chemical, physical, and biological

integrity of” navigable waters and thus fall within the Agencies’ statutory authority. Rapanos v.

United States, 547 U.S. 715, 780 (2006) (Kennedy, J., concurring in the judgment). As discussed

below, those contentions are meritless.

          A.   Tributaries
          Intervenor-Defendants seek to justify the Rule’s definition of “tributary” by arguing, in

broad brushstrokes, that (a) science shows that tributaries can affect the physical, chemical, and

biological integrity of primary waters, and (b) the Agencies “carefully limited the definition of
tributary to those waters scientifically shown to have sufficient flow to significantly affect the

physical, chemical, and biological integrity of primary waters, as Justice Kennedy directed.”

ECF No. 213 (Int.-Defs.’ Br.) at 10–11.2 But these sorts of conclusory arguments fail to explain

exactly how the Rule manages to assure that covered waters satisfy the “significant nexus” test—

because it does not. Instead, the Rule—by its plain terms—covers ground or water features

created by flow that is “intermittent” or “ephemeral” and “only in response to precipitation

events,” Clean Water Rule: Definition of “Waters of the United States,” 80 Fed. Reg. 37,053,

37,076 (June 29, 2015), without regard to the degree of flow from those features to primary

waters. Those criteria sweep in certain types of ground or water features Justice Kennedy

concluded were outside of the CWA’s reach, see Rapanos, 547 U.S. at 781.

          Whether science shows that tributaries generally have important effects on primary

waters is not the relevant question. The question is whether tributaries as defined by the Rule

have the kinds of “significant” effects on primary waters that Justice Kennedy’s significant-

nexus test requires. Id. But despite their repeated insistence that science dictates the Rule’s

tributary definition, Intervenor-Defendants fail to point to anything in the record explaining how


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    Intervenor-Defendants suggest that Justice Kennedy’s concurrence authorizes the Agencies to
    “identify categories of tributaries” through “regulation” that satisfy the significant-nexus test.
    Int.-Defs.’ Br. at 9. Even if so, the problem here, as discussed below, is not the Agencies’ use of
    categories per se, but rather the way the Rule formulates those categories.

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the Rule’s tributary criteria ensure that only waters with significant effects on primary waters are

included. That is a necessary showing, because Justice Kennedy’s Rapanos concurrence

contemplates that some water features that fall within the definition of “tributaries” exceed the

CWA’s scope.

       For example, as to the new criterion providing that waters qualify as jurisdictional

tributaries if they have the “physical indicators of bed and banks” in addition to an “ordinary

high water mark,” the Agencies previously asserted that those criteria ensure that any covered

tributary will have “sufficient volume, frequency, and flow” to primary waters “to establish a
significant nexus.” 80 Fed. Reg. at 37,058; see Int.-Defs.’ Br. at 12. That rule formulation, per

Intervenor-Defendants, supposedly rectifies the defects of the tributary definition Justice

Kennedy critiqued in Rapanos, which required that a qualifying tributary have an ordinary high

water mark (OHWM) only. See Rapanos, 547 U.S. at 781 (“[T]he breadth of this [OHWM-only]

standard—which seems to leave wide room for regulation of drains, ditches, and streams remote

from any navigable-in-fact water and carrying only minor water volumes toward it—precludes

its adoption as the determinative measure of whether adjacent wetlands are likely to play an

important role in the integrity of an aquatic system comprising navigable waters as traditionally

understood.”). But despite invoking the authority of “1,200 peer-reviewed scientific publications

and hundreds of pages of technical support” as support for the Rule, Int.-Defs.’ Br. at 12–13,

Intervenor-Defendants do not cite a single scientific authority that explains how the presence of

those physical indicators necessarily establishes that a water’s volume and flow will result in the

“significant effects” on primary waters that Justice Kennedy’s test requires. The text of the Rule,

in fact, includes no requirement for a certain amount of volume at all; it provides only that a

jurisdictional tributary must “contribute[] flow” to a primary water, not any particular quantum

of flow. 33 C.F.R. § 328.3(c)(3). And indeed, the Agencies have since conceded that under the

Rule, “tributaries need not be demonstrated to possess any specific volume, frequency, or

duration of flow, or to contribute flow to a traditional navigable water in any given year or

specific time period.” 83 Fed. Reg. at 32,228. The Rule provides that the “physical indicators” of

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bed, banks, and OHWM merely “demonstrate there is volume, frequency, and duration of flow

sufficient to create” those physical indicators, 33 C.F.R. § 328.3(c)(3) (emphasis added), but

nothing about those criteria require that the feature will have the volume, frequency, and duration

of flow sufficient to create the significant effects on primary waters required by Justice

Kennedy’s test. Without any such limit, the Rule’s “bed, banks, and OHWM” requirement suffers

from the same fatal defect Justice Kennedy highlighted in the original, OHWM-only rule.

       Nor are Intervenor-Defendants able to show that the Rule’s tributary definition avoids

running afoul of the specific kinds of extra-jurisdictional features noted in Justice Kennedy’s
Rapanos concurrence. In addition to pointing out the Rule’s problematic reliance on an OHWM

as a criterion for defining covered tributaries, the States have shown that, by not requiring any

particular quantum of volume or flow, nothing in the Rule precludes its covering “[t]he merest

trickle, [even] if continuous” or “drains, ditches, and streams remote from any navigable-in-fact

water and carrying only minor water volumes toward it.” Rapanos, 547 U.S. at 769, 781.

Intervenor-Defendants do not explain how the Rule would exclude “mere trickles” because, of

course, it does not. While the Rule precludes certain streams like gullies, rills, or other ephemeral

waters not having an OHWM or bed and banks, see 33 C.F.R. § 328.3(b)(4)(vi); ECF No. 213-10

(Technical Support Document) at 270, a “mere trickle” steadily flowing may well eventually

form those physical indicators and thus be covered by the new Rule, which would be unlawful

under Justice Kennedy’s controlling opinion.

       Intervenor-Defendants also fail to provide a satisfying answer for the problematic drains

and ditches that Justice Kennedy flagged as features that exceed the jurisdiction authorized by

the CWA. Rapanos, 547 U.S. at 781 (rejecting standard that might extend to “drains, ditches, and

streams remote from any navigable-in-fact water and carrying only minor water volumes toward

it”); see also ECF No. 199 (Int.-Pls.’ Br.) at 11 (discussing Rule’s inclusion of “dry desert washes

and arroyos in the arid West, ‘tributaries’ from which water has long since disappeared and that

are invisible to the naked eye, ponds on never-mapped 100-year floodplains, and virtually all

land in Alaska and the water-rich Southeast”); id. at 12–14 (providing illustrations of problematic

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features likely to be covered by the Rule). Intervenor-Defendants argue that the WOTUS Rule

excludes certain “intermittent and ephemeral ditches,” see Int.-Defs.’ Br at 14–15, but the very

Federal Register page they cite makes clear—and they acknowledge—that the Rule continues to

regulate many ditches regardless of the degree of flow, see 80 Fed. Reg. 37,078 (“[j]urisdictional

ditches” include “[d]itches with perennial flow,” “[d]itches with intermittent flow that are a

relocated tributary, or are excavated in a tributary, or drain wetlands,” and “[d]itches, regardless

of flow, that are excavated in or relocate a tributary”). A rule that treats ditches as jurisdictional

regardless of the amount of water flowing through them flouts Justice Kennedy’s controlling
opinion.

         B.   Adjacency
         Intervenor-Defendants defend the Rule’s adjacency definition with the same broad and

conclusory invocations of science, but again without any explanation for how the Rule’s specific

criteria ensure that the waters it covers will necessarily satisfy the significant-nexus test. See Int.-

Defs.’ Br. at 15–16. Those responses too are unavailing. As an initial matter, the States pointed

out that, to the extent that the tributary definition is overbroad, the adjacency definition is

overbroad. States’ Br. at 12–13. Intervenor-Defendants do not respond at all to this argument.

Nor do Intervenor-Defendants account for the fact that the adjacency category covers waters

simply because they are somewhat near a remote “tributary,” even though Justice Kennedy

specifically explained that such waters fell outside of the CWA’s reach. Rapanos, 547 U.S. at

780.

         Even where Intervenor-Defendants offer specific responses to the States’ arguments,

those responses are insufficient. The States argued, for example, that using a 100-year floodplain

and the Rule’s other distance limits is overbroad under Rapanos. States’ Br. at 13. That a ground

or water feature has a 1% chance of linking to a jurisdictional water in a given year, see Int.-

Defs.’ Br. at 18 (explaining 100-year floodplains), exceeds any reasonable notion of a significant

nexus. See Rapanos, 547 U.S. at 780 (Kennedy, J., concurring in the judgment) (rejecting theory


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that “adjacency to tributaries, however remote and insubstantial,” sufficed to bring a water within

CWA jurisdiction because that result would reach “beyond the holding of [United States v.

Riverside Bayview Homes, Inc., 474 U.S. 121 (1985)]”). Intervenor-Defendants respond, in

essence, that floodplains or watersheds matter generally. See, e.g., Int.-Defs.’ Br. at 18

(“Floodplain waters provide vital functions within a river system such as through flood storage

and acting as a buffer to mitigate pollution.”). But Justice Kennedy’s test requires more. As

discussed above, it mandates that the feature in question have a “significant” connection with

navigable-in-fact waters, not just any connection. Rapanos, 547 U.S. at 779. Intervenor-
Defendants claim that the specific distances and criteria the Agencies selected ensure that waters

fall under the Rule only if there is that significant connection. But they offer no record support

explaining how or why waters affect primary waters to a legally significant extent only at the

point those jurisdictional criteria are met rather than something less expansive than those criteria.

More fundamentally, science cannot answer the ultimate legal question of what waters the CWA

reaches as a matter of definition. Science can model what kinds of effects occur given various

standards under consideration, but the question whether a particular definition limits the

Agencies’ jurisdiction to waters with a “significant nexus” to navigable waters (as Justice

Kennedy’s test requires) is ultimately a legal judgment. See id. Intervenor-Defendants’

invocations of science in the abstract are thus insufficient to render the “adjacency” definition

lawful under the controlling test.

       C.    Case-by-Case Waters
       The case-by-case waters category includes—among many other things—the very same

kinds of waters that the Supreme Court held were not jurisdictional in Solid Waste Agency of

North Cook County v. U.S. Army Corps of Engineers, 531 U.S. 159 (2001) (SWANCC), the

decision Justice Kennedy relied upon in formulating the significant-nexus test that controls here.

Rapanos, 547 U.S. at 767 (“Because such a nexus was lacking with respect to isolated ponds, the

Court held [in SWANCC] that the plain text of the statute did not permit the Corps’ action.”). For


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example, under the Rule, if ducks used hydrologically isolated wetlands for foraging and

feeding, that would extend federal jurisdiction to the isolated wetland. See 80 Fed. Reg. at

37,093. The same would be true if insects bred in an isolated wetland or marsh and were later

eaten by birds or fish in a non-navigable stream that crosses a state border. See id. And isolated

wetlands or depressions could be deemed jurisdictional precisely because of their isolation—if

the Agencies were to determine that such features store water, trap sediment, or cycle nutrients,

they could be deemed jurisdictional individually or in conjunction with other similarly situated

waters. See id. These results are not compatible with Justice Kennedy’s controlling test for CWA
jurisdiction.

        Intervenor-Defendants offer no answer for this. Instead, they assert, generally, that the

science shows “which categories of waters significantly affect the physical, chemical, or

biological integrity of other covered waters, and thus meet Justice Kennedy’s significant nexus

test.” Int.-Defs.’ Br. at 9 (emphasis added). But this effectively amounts to an admission that the

WOTUS Rule purports to overrule SWANCC, which rejected the expansion of CWA jurisdiction

to isolated intrastate sand and gravel pits based solely on a biological factor—the presence of

migratory birds—an approach that would “read[] the term ‘navigable waters’ out of the statute.”

531 U.S. at 162, 171–72. Intervenor-Defendants’ formulation is also inconsistent with Justice

Kennedy’s actual “significant nexus” test, which requires a significant effect on the “chemical,

physical, and biological integrity” of navigable waters. 547 U.S. at 780 (emphasis added)

(rejecting inclusion of waters with effects on navigable waters that “are speculative or

insubstantial” because such waters “fall outside the zone fairly encompassed by the statutory

term ‘navigable waters’”). Intervenor-Defendants respond that Justice Kennedy could not have

meant for waters that contribute to the chemical and physical integrity of a primary water, but not

to the biological integrity of that water, to be subjected to “unregulated pollution.” Int.-Defs.’ Br.

at 19–20. But this focus on potentially polluting actions, rather than the relationship between

upstream waters and navigable waters, is misguided. Rather, the “significant nexus” test acts as a

gatekeeper for determining when federal jurisdiction may be appropriate over waters other than

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navigable-in-fact waters or waters readily susceptible of being rendered so. Requiring a

heightened standard for waters at the outer edge of Congress’s and the Agencies’ CWA authority

is reasonable and exactly what Justice Kennedy intended in using language from 33 U.S.C. §

1251(a).

       D.    Interstate Waters
       The Plaintiff States explained that the WOTUS Rule also exceeds the Agencies’

jurisdiction under the CWA by asserting jurisdiction over “interstate waters” without regard to

whether those waters are navigable or connected to navigable waters—and then asserting
jurisdiction over additional waters (tributaries and adjacent and case-by-case waters) based on

their connection to those potentially non-navigable waters. States’ Br. at 15 (citing Rapanos, 547

U.S. at 778 (Kennedy, J., concurring in the judgment) (CWA “invokes Congress’ traditional

authority over waters navigable in fact or susceptible of being made so”)).

       Both the Agencies and Intervenor-Defendants assert that the States’ objection to the scope

of “interstate waters” is untimely. Agencies’ Br. at 19–21; Int.-Defs.’ Br. at 20–21. They reason

that the WOTUS Rule did not change the preexisting regulatory language that includes interstate

waters as a separate category of waters of the United States, and that the time to challenge that

portion of the regulation is long past. Agencies’ Br. at 19–21; Int.-Defs.’ Br. at 20–21.

       This argument misses two key points. As an initial matter, the period for seeking judicial

review of a rule or other interpretation reopens when, as here, the agency “open[s] the issue up

anew” in a proposed rule and seeks and responds to comments on the issue. Ass’n of Am. R.Rs. v.

Interstate Commerce Comm’n, 846 F.2d 1465, 1473 (D.C. Cir. 1988); see, e.g., Definition of

“Waters of the United States” Under the Clean Water Act, 79 Fed. Reg. 22,187, 22,254–59 (Apr.

21, 2014) (Proposed Rule) (extended discussion justifying including “interstate waters” as

jurisdictional waters); 80 Fed. Reg. at 37,075 (indicating that the Agencies received and

responded to comments on “interstate waters”). Moreover, Plaintiff States challenge not only the

scope of “interstate waters” as defined, but also the Agencies’ decision to assert jurisdiction over


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waters in their tributaries, adjacent, and case-by-case categories based on those waters’

connection with the overbroad category of interstate waters. In other words, the Plaintiff States

contend that the WOTUS Rule improperly asserts federal jurisdiction over interstate waters

without any navigability inquiry, and then extends jurisdiction to waters with a nexus to those

non-navigable waters. States’ Br. at 15. This issue could not have possibly been raised before the

WOTUS Rule; the point is that the Rule creates an integrated regime that the States contend is

unlawful. And Defendants make no arguments on the merits that justify this aspect of the

WOTUS Rule.

      E.   The WOTUS Rule is not entitled to judicial deference.
       Intervenor-Defendants suggest that this Court should defer to the Agencies’ prior

determination that the Rule does not exceed their authority under the CWA. See, e.g., Int.-Defs.’

Br. at 8 n.2, 25–26. But this argument misconstrues the nature of agency deference and is wrong

for multiple reasons:

       First, when an “agency no longer seeks deference” for parts of an agency action, “it

would make no sense for th[e] court to determine whether the disputed agency positions …

warrant Chevron deference.” Glob. Tel*Link v. FCC, 866 F.3d 397, 407–08 (D.C. Cir. 2017).

Here, the Agencies have not only declined to defend the WOTUS Rule, but have conceded that

the Rule in fact poses many of the problems “raised by the challengers on summary judgment.”

Agencies’ Br. at 17 (quoting various concerns listed in supplemental notice of proposed

rulemaking). Deference is thus especially unwarranted here, where “the agency has abandoned

[its prior] positions.” Glob. Tel*Link, 866 F.3d at 408.

       Second, because the Agencies attempted to justify the WOTUS Rule as consistent with

Justice Kennedy’s concurrence in Rapanos, the question at hand is whether the Agencies have

violated the terms of that opinion. The Agencies’ interpretation of a judicial opinion is not
entitled to deference. See Akins v. FEC, 101 F.3d 731, 740 (D.C. Cir. 1996) (en banc) (vacated on

other grounds) (holding that courts are “not obliged to defer to an agency’s interpretation of


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Supreme Court precedent under Chevron or any other principle.”). Third, deference cannot save

an unlawful rule, as Justice Kennedy’s opinion in Rapanos shows. See 547 U.S. at 778–9 (“The

deference owed to the Corps’ interpretation of the statute does not extend so far” as to “permit

federal regulation whenever wetlands lie alongside a ditch or drain, however remote and

insubstantial, that eventually may flow into traditional navigable waters.”).

       Fourth, Chevron deference applies to agency interpretations of ambiguous statutory

language, but under Utility Air Regulatory Group v. EPA, 134 S. Ct. 2427 (2014), when an

agency seeks to “bring about an enormous and transformative expansion” in its authority to make
“decisions of vast ‘economic and political significance,’” under a “long-extant statute,” it must

point to a clear statement from Congress authorizing such a step. Id. at 2444 (quoting FDA v.

Brown & Williamson Tobacco Corp., 529 U.S. 120, 160 (2000)). This means there is no

circumstance under which Chevron deference could save the WOTUS Rule. If the CWA is

ambiguous enough with respect to the scope of “navigable waters” to permit deference under

Chevron, it does not provide the clear statement necessary to permit the transformative

expansion the WOTUS Rule would bring about.

        Fifth, when an agency action raises serious constitutional questions, deference to an agency
interpretation is inappropriate and “the Court will construe the statute to avoid such problems unless

such construction is plainly contrary to the intent of Congress.” SWANCC, 531 U.S. at 172 (citing

Edward J. DeBartolo v. Florida Gulf Coast Bldg. and Const. Trades Council, 485 U.S. 568, 575

(1988)). Because the WOTUS Rule raises just these sorts of constitutional questions, see States’ Br.

at 24–28, it warrants no deference.

III. The Rule violates the APA.

       A.    The Rule is not a logical outgrowth of the proposed rule, which did not put
             interested parties on notice of the final rule’s distance-based criteria or its
             unduly narrow farm exclusion.
       The States explained that the WOTUS Rule must be vacated because the Agencies failed

to comply with the APA’s notice-and-comment requirement. Specifically, certain features of the


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final rule—i.e., the specific distance requirements of “adjacent” and “case-by-case” waters, and

the adjacent-waters-only farming exclusion—were not “logical outgrowths” of the proposed rule.

States’ Br. at 20–22. Defendants respond that because the proposed rule implied or mentioned

distance limitations generally, the public received sufficient notice. But Defendants’ specific

justifications for the substantial changes between the proposed and final rule are both legally and

logically unsound.

       1. With respect to the three distance-based criteria of the “adjacent waters” definition—

(1) waters within 100 feet of a primary water, impoundment, or “tributary;” (2) waters within a
100-year floodplain and 1,500 feet of a primary water, impoundment, or “tributary;” and (3)

waters within 1,500 feet of the high-tide line of a primary water, 33 C.F.R. § 328.3(c)(2)

(defining “neighboring” waters, a subset of “adjacent waters”)—Defendants argue that the

Agencies complied with the APA because the proposed definition “encompassed waters located

within the distance limitations established by the riparian area or floodplain of a primary water,

impoundment, or tributary, and waters with a shallow subsurface hydrologic connection or

confined surface hydrologic connection to a primary water, impoundment, or tributary.”

Agencies’ Br. at 25. They further argue that the Agencies requested comment on a number of

options with respect to “establishing specific geographic limits for using shallow subsurface or

confined surface hydrological connections as a basis for determining adjacency.” Id. (quoting 79

Fed. Reg. at 22,208).

       But the language Defendants point to in the proposed rule did not notify the public that

the Rule would rely on specific distance-based limits—like those used in the final rule’s

definition of “neighboring”—as determinative bases for defining jurisdictional waters. For

example, the Agencies point out that the adjacency definition was “designed to provide greater

clarity by identifying specific areas and characteristics for jurisdictional adjacent waters” and

that they “request[ed] comment for additional clarification.” Id. at 24 (quoting 79 Fed. Reg. at

22,209). Proposing that “specific areas and characteristics” could inform the overall adjacency

calculus is a far cry from defining jurisdiction based solely on specific distances from certain

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reference points; the former gives no indication of the latter. The same holds true for the

Agencies’ contention that their notion of adjacency “has always included an element of

reasonable proximity” and that their use of certain terms was intended to “define the lateral reach

of the term ‘neighboring.’” Id. at 25 (citing 79 Fed. Reg. at 22,207). Vague terms like “lateral

reach” and “reasonable proximity” provide only the most general suggestion that distance from a

primary water could be a consideration in determining which “adjacent” waters might be deemed

jurisdictional; they do not come close to suggesting that the Rule would use fixed numeric

distances (e.g., 100 feet, 1,500 feet) or a 100-year floodplain as determinative limitations on
jurisdictional waters, much less what range of distance-based criteria was under consideration. In

addition, the request for comments indicated that consideration of “specific geographic limits”—

specifically, limits “for using shallow subsurface or confined surface hydrological

connections”—was only one of several “options” the Agencies were considering “as a basis for

determining adjacency.” 79 Fed. Reg. at 22,208. Others included asserting jurisdiction over “all

waters connected through a shallow subsurface hydrologic connection or confined surface

hydrologic connection regardless of distance,” or “adjacent waters only if they are located in the

floodplain or riparian zone of a jurisdictional water,” neither of which suggested that specific

distance limitations might be relevant at all. Id. Put simply, the Agencies appear to contend that

because unspecified geographic limitations were one of several potential factors for determining

the bounds of “adjacent waters,” they were justified in adopting any determinative distance-

based criteria whatsoever—whether 10 inches, 10 feet, or 10 miles. Such an approach could be

used to “justify any final rule” defining adjacency and must be rejected. Envtl. Integrity Project

v. EPA, 425 F.3d 992, 998 (D.C. Cir. 2005).

       If the Agencies wanted to build the definition of adjacency around distances from certain

reference points, they needed to inform the public of “the range of alternatives being considered

with reasonable specificity,” Small Refiner Lead Phase-Down Task Force v. EPA, 705 F.2d 506,

549 (D.C. Cir. 1983), as to both the particular reference points themselves and the particular

distances. But the proposed rule did not provide that the Agencies were considering any

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particular floodplain zone or any particular range of fixed distances as jurisdictional bounds. See

79 Fed. Reg. at 22,207 (noting that waters may qualify if they were “located within the riparian

area or floodplain” of another relevant water). The proposed rule’s only mention of specific

figures came in the form of an offhand example: “When determining whether a water is located

in a floodplain, the agencies will use best professional judgment to determine which flood

interval to use (for example, 10 to 20 year flood interval zone).” Id. To the extent this can be

taken as a “range of alternatives” at all, it was not “reasonably specific,” see Small Refiner, 705

F.2d at 549, but rather affirmatively misleading, since the final rule used a 100-year floodplain.
Had the Agencies provided adequate notice of the ranges being considered for these various

reference points and distance limits, it would have allowed the stakeholders to provide informed

feedback on the proposed distance limitations. Instead, stakeholders with interests in millions of

acres of affected land were essentially blindsided by arbitrary distance figures that appeared for

the first time in the final rule.

        Both the Agencies and Intervenor-Defendants cite decisions to show that final

administrative rules need not exactly mirror proposed rules. That is beside the point. What

Defendants cannot point to are decisions approving the inclusion of previously unspecified

numerical limits in a final rule establishing sweeping federal jurisdiction. If anything, the

decisions Defendants cite undermine their argument. For example, in Waukesha v. EPA, 320 F.3d

228 (D.C. Cir. 2003), see Agencies’ Br. at 24, which involved regulation of the maximum

contaminant levels (MCL) in drinking water, the proposed rule suggested an MCL for naturally

occurring uranium of either 20, 40, or 80 μ g/L. The final rule, however, set the MCL at 30 μg/L.

Id. at 232. The court upheld the rule against a logical-outgrowth challenge because the final

MCL was within the range of possible alternatives and was very close in proximity to the

proposed higher and lower MCLs. Id. at 246–47. Here, by contrast, the Agencies offered no

range of alternatives at all—they simply maintain that the mention of the concept of geographic

or distance limitations, in the context of other potential non-numerical criteria, should have

somehow put the public on notice of the specific (and arbitrary) numerical limits that set the

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jurisdictional reach of “adjacent” waters in the final rule. Waukesha offers no support for that

argument.3

          Alabama Power Co. v. OSHA, 89 F.3d 740 (11th Cir. 1996), see Int.-Defs.’ Br. at 27–28,

is similarly inapposite. Intervenor-Defendants mischaracterize that case as one where a proposed

rule permitted protective clothing made of all natural fabrics, regardless of weight, but the final

rule specified that certain weights of natural fabrics would be allowed, including cotton fabrics

greater than 11 ounces under certain conditions. Int.-Defs.’ Br. at 28. The dispute in Alabama

Power was not over the final rule itself, which specified in a preamble that flame-resistant

natural or synthetic materials were acceptable, and did not mention a weight. Instead, the dispute

focused on a subsequently issued “correction to the preamble,” which emphasized that natural

materials were acceptable, provided they were “of such weight and construction as not to ignite”

under dangerous conditions. 89 F.3d at 743. The correction further specified, as an example, that

“cotton fabrics of 11 ounces or [more] generally will not ignite” when exposed to electric arcs.

Id. The petitioners challenged the provision at issue on the ground that OSHA failed to provide a

comment period for the correction, which they asserted amounted to a “revision” of the rule

because it mandated certain weights. Id. at 744. The court disagreed, noting that the corrected

rule simply suggested that heavier fabrics might be called for under certain circumstances, and

that employers retained the discretion to determine whether or not cotton or wool clothing would

be acceptable under various circumstances. Id. The court thus concluded that the “final standard,

correction included … would have constituted a logical outgrowth of the proposed standard if

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    The same holds true for Louisiana Federal Land Bank Association v. Farm Credit
    Administration, 336 F.3d 1075 (D.C. Cir. 2003), in which a proposed FCA rule would have
    removed geographic restrictions on direct loans and allowed lenders to participate in loans
    outside their own territories. Id. at 1079. The final rule only removed the geographic
    restrictions on loan participations, but left the restrictions on direct loans in place. Id. The court
    upheld the final rule because it eliminated only part of the restrictions it originally
    contemplated doing away with, and was thus was a “natural subset” of the proposed rule. Id. at
    1081. Again, the distance-based limitations in the final WOTUS Rule cannot have been a
    natural subset of the proposed rule because it mentioned geographic limitations only in the
    abstract.

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originally promulgated as corrected,” and that OSHA was accordingly exempt from the notice

requirements for standard modifications. Id. at 745. Alabama Power, in short, is not analogous to

this case.

        The same holds true for the rest of the logical-outgrowth cases cited by Defendants. For

example, in American Iron & Steel Institute v. OSHA, 182 F.3d 1261 (11th Cir. 1999); see Int.-

Defs.’ Br. at 20–21, physicians challenged an OSHA rule on the ground that the proposed rule

had merely suggested the possibility that non-physician health care professionals could handle

some but not all medical evaluation tasks, but the final rule eliminated the mandatory role for
physicians altogether. Id. at 1275–76. The court reasoned that the proposed rule provided

sufficient notice because, unlike the proposed WOTUS Rule, the proposed OSHA rule had at

least indicated that a range of specific options were on the table—physicians would be required

to perform all, some, or no examinations—and the agency chose one of those options in the final

rule. See id. at 1276 (agency solicited comments on the “extent of the role that should be given to

non-physician health professionals.”). And in Small Refiner, the court criticized the EPA for not

specifying in a proposed rule which “loopholes” regarding refiner productions limits it intended

to close. 705 F.2d at 548. The court nonetheless held that the challenger was aware in fact of the

requirement at issue because its attorney attended a hearing discussing the requirement and

because the challenger was closely involved in the rulemaking. Id. at 548–49. Defendants do

not—and indeed could not—contend that the States had notice in fact of the relevant distance

requirements in this case.

        Finally, in American Trucking Associations v. Federal Motor Carrier Safety

Administration, 723 F.3d 243 (D.C. Cir. 2013), the proposed rule at issue include a mandated 30-

minute off-duty break for long-haul truckers, whereas the final rule imposed the break

requirement on both long- and short-haul truckers, who had historically been excepted from

hours-of-service rules. Id. at 252. The court rejected a procedural challenge to the rule, noting

that because another part of the proposed rule suggested eliminating the hours-of-service

exception for short-haul truckers, thus requiring them to comply with the same rules as long-haul

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truckers, the court “fail[ed] to see how any reasonable commentator would have read the

[proposed rule] to suggest the agency would not do what it was otherwise free to: apply the 30-

minute break requirement to short- and long-haul truckers alike.” Id. at 253. Here, by contrast, no

other provisions of the proposed WOTUS rule would have even arguably put the public on notice

of the arbitrary and specific distance-based criteria that emerged in the final rule.

       The Agencies reason, finally, that a “slew” of public comments that made some mention

of distances “show[s] that the public had adequate notice of the issue.” Agencies’ Br. at 26. But

courts “have rejected bootstrap arguments predicating notice on public comments alone.”
Horsehead Res. Dev. Co. v. Browner, 16 F.3d 1246, 1268 (D.C. Cir. 1994). Further, a few

comments guessing at one of the standards, out of more than a million comments total, do not

show that the interested parties had sufficient notice. Comments that are “sparse and ambiguous

at best” support the argument that the notice was not adequate. Shell Oil Co. v. EPA, 950 F.2d

741, 751 (D.C. Cir. 1991). The fact that Defendants cannot point to a single comment that

actually discussed the five distance limits that make up the heart of the Rule highlights the

inadequacy of the notice and comment process for the Rule. Had the Agencies actually given

proper notice of the actual distances at issue, the record likely would have looked dramatically

different with respect to this aspect of the Rule: stakeholders would have submitted detailed

maps, economic studies, and other documents in support of comments debating the proposed

distance limitations. The absence of such materials in the record speaks volumes: the parties

could not comment on numerical criteria they did not know were at issue.

       2. Defendants’ arguments with respect to case-by-case waters fare no better. The final

rule unexpectedly provided that the Agencies’ case-by-case jurisdictional analysis would now

relate, as relevant here, to: (1) waters within the 100-year floodplain of a primary water; and (2)

waters within 4,000 feet of a primary water, impoundment, or tributary. 33 C.F.R. § 328.3(a)(8).

Although the Agencies concede that the proposed rule “did not specify the distances in the final

rule,” they nonetheless reason that the mention of the word “location” in the proposed rule

provided “at least the ‘germ’ of a distance limitation” and thus gave the public notice of the

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ultimate distance criteria. Agencies’ Br. at 29. This argument stretches the “logical outgrowth”

test too far. Again, the mention of a general concept, like “distance” or “location,” is a far cry

from the discussion of specific distances—or even proposed ranges of distances, see Waukesha,

320 F.3d at 232—that would enable affected parties the opportunity to study and provide

meaningful comments on or objections to those proposals. Moreover, the proposed rule refers to

“location” as supplemental information to be included only if available, not as a dispositive

factor in the jurisdictional determination. See 79 Fed. Reg. at 22,214 (“When making a

jurisdictional determination for an ‘other water,’ the administrative record will include available
information supporting the determination. In addition to location and other descriptive

information regarding the water at issue, the record will include a clear explanation of the

rationale for the jurisdictional conclusion and a description of the information used to determine

whether the ‘other water’ has a significant nexus.”). The subsections of the proposal that follow

this single sentence consist of three-and-a-half pages discussing potential requirements for case-

by-case waters, and none of the possibilities contemplate adopting criteria based upon specific

distances from specific reference points. See 79 Fed. Reg. at 22,214–17.

       Furthermore, that the case-by-case category was to be limited to “waters ‘sufficiently

close’ to a jurisdictional water,” Agencies’ Br. at 29, did not indicate that any specific fixed

distances or floodplain interval zones would be determinative, especially given that the proposal

used that phrase in discussing characteristics and functions of landforms. See 79 Fed. Reg. at

22,213. In any event, to the extent the proposed rule implied distances at all, it offered no

information whatsoever about the specific distances or ranges of distances under consideration.

       The Agencies also contend that a smattering of comments mentioning “distance” show

that the public had adequate notice that the final case-by-case jurisdiction definition would

include specific distance components. Agencies’ Br. at 26–27. But the comments the Agencies

cite undercut their argument. For instance, a few commenters suggested that distance should not

be used at all in a case-by-case analysis, while others suggested that it should not be the sole

factor. Id. at 26. And three other commenters, concerned that distance factors might play a role in

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the final definition, asked the Agencies to specify what distance would be considered

“sufficiently close.” Id. Comments that include arguments against using any distance at all, or

pleas for more specificity as to how distance could be used in an eventual rule do not show that

the public had specific notice of two precise and previously unmentioned distance-based criteria

for determining the jurisdictional reach of the Rule.4

          3. The States have explained that the Rule’s partial farming exclusion was enacted in

violation of the APA because the proposed rule made no mention of exempting waters on

farmland only from the “adjacent waters” category. States’ Br. at 22. The Agencies effectively

concede error on this point, and argue instead that any procedural deficiencies on this point were

harmless error. Agencies’ Br. at 30–31. This response misreads the States’ argument. The lack of

notice as to a contemplated farmland exemption deprived the States of the opportunity to propose

the exclusion of farmland from the “tributaries” category as well. Considering the sheer amount

of farm acreage that could be swept in to federal jurisdiction under the new definitions, the

inability to comment on potential farm exceptions is not harmless error.

          B.   The Rule is arbitrary and capricious because key components lack necessary
               record support.
          The States also contend that the Rule is arbitrary and capricious because numerous

aspects of the Rule, including the distance-based components and the unduly narrow farm
exclusion, lack adequate record support. States’ Br. at 22–23. Defendants, in response, invoke

science in the abstract, Int.-Defs.’ Br. at 25–26, but fail to identify scientific support in the record

for the specific distance limits of the rule—e.g., being within a 100-year floodplain or 1,500 feet

of a primary water as opposed to, say, a 10-year floodplain or 500-foot distance. In other words,

the record does not show how these particular distance-based limitations ensure that the Rule


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    The same holds true for Georgia’s comments. Contrary to Intervenor-Defendants’ suggestion,
    see Int.-Defs.’ Br. at 28, Georgia’s request for the inclusion of “specific geographic limits,”
    “including, for example, distance limitations,” id., does not mean that Georgia—or the public in
    general—had notice that the Agencies were contemplating sweeping expansions of jurisdiction
    based on arbitrary distance-based limitations.

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includes only waters the CWA authorizes the Agencies to regulate. Indeed, the Agencies have

effectively conceded that the line they drew was arbitrary. The Agencies’ Technical Support

Document provides as follows:

      Based on a review of the scientific literature, the agencies’ technical expertise and
      experience, and the implementation value of drawing clear lines, the rule establishes
      a distance limit for floodplain waters to meet the definition of “neighboring” and
      thus to be “waters of the United States” by rule. This distance limitation was
      established in order to protect vitally important waters within a watershed while at
      the same time providing a practical and implementable rule. The agencies are not
      determining that waters in the floodplain farther than 1,500 feet from the ordinary
      high water mark never have a significant nexus. Rather, the agencies are using their
      technical expertise to promulgate a practical rule that draws reasonable boundaries in
      order to protect the waters that clearly have a significant nexus while minimizing
      uncertainty about the scope of “waters of the United States.” Because waters beyond
      these limits may have a significant nexus, the rule also establishes areas in which a
      case specific significant nexus determination must be made.

ECF No. 213 (Agencies’ Technical Support Doc.) at 301–02. Thus, the Agencies apparently

picked their selected distances because they (1) offer bright lines that (2) protect waters that

“clearly” have a significant nexus to navigable waters. But any fixed distance would provide

clear guidance, and the Agencies offer no scientific justification for why their chosen distances

ensure protection of only waters with a significant nexus, or why other distance-based limitations

would not. And in fact, the record indicates that “functional relationships,” not distances alone,

are the appropriate way to define adjacency. States. Br. at 23 (citing Science Advisory Board’s

conclusions). The Defendants have no record-based defense of the Agencies’ arbitrary distance-

based criteria for defining jurisdictional waters.

IV. The WOTUS Rule exceeds Congress’s Commerce Clause authority and violates the
    States’ Tenth Amendment rights.
       The Agencies do not contest the States’ argument that the Rule goes beyond Congress’s

Commerce Clause authority and invades the States’ sovereign authority to manage local lands in

violation of their Tenth Amendment rights. See Agencies’ Br. at 36–37; States’ Br. at 24–28. To

the contrary, the Agencies have conceded in the supplemental notice of proposed rulemaking that

“many features that are categorically jurisdictional under the 2015 Rule, such as wetlands that

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fall within the distance thresholds of the definition of ‘neighboring,’ test the limits of the scope

of the Commerce Clause because they may not have the requisite effect on the channels of

interstate commerce.” 83 Fed. Reg. at 32,249. The Agencies also “expressed concern” in the

same supplemental notice that the 2015 Rule “may have altered the balance of authorities

between the federal and State governments, contrary to the agencies’ statements in promulgating

the 2015 Rule and in contravention of CWA section 101(b), 33 U.S.C. 1251(b).” Id. at 32,228.

        Intervenor-Defendants defend the Rule’s constitutionality. As to the Commerce Clause,

they contend that the Rule is a valid exercise of the federal government’s power to “regulate
interstate waters and activities affecting interstate waters.” Int.-Defs.’ Br. at 24. They are

incorrect. As an initial matter, Intervenor-Defendants do not address the States’ point that the

Rule cannot be justified as a regulation of “activities that substantially affect interstate

commerce,” see United States v. Lopez, 514 U.S. 549, 558–59 (1995), because Congress did not

invoke that aspect of the commerce power in adopting the CWA. See States’ Br. at 25–27 (citing

SWANCC, 531 U.S. at 168 n.3 (there is no indication that “Congress intended to exert anything

more than its commerce power over navigation” in adopting the CWA)). Further, as the States

explained, even if Congress had invoked the substantial-effects aspect of the Commerce Clause,

the Supreme Court has rejected efforts by Congress to regulate non-economic activities under a

substantial-effects theory. See States’ Br. at 26–27 (citing Lopez, 514 U.S. at 561, 567; United

States v. Morrison, 529 U.S. 598, 613 (2000)).

        As for the Tenth Amendment, Intervenor-Defendants argue that the WOTUS Rule passes

constitutional muster because it “does not compel any action by the States.” Int.-Defs.’ Br. at 25.

But this elides the States’ argument. The States have not claimed that the Rule violates the Tenth

Amendment by compelling the States to act; rather, they have contended that the Rule is

unconstitutional because it regulates States as States, and in doing so cuts too deeply into the

States’ traditional power to manage local lands—“perhaps the quintessential state activity.”

FERC v. Mississippi, 456 U.S. 742, 767 n.30 (1982); States’ Br. at 27-28. Intervenor-Defendants

offer no response to this contention.

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                                      CONCLUSION
      This Court should grant summary judgment in favor of the Plaintiff States and hold

unlawful and vacate the WOTUS Rule.

      Respectfully submitted.

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                              CERTIFICATE OF SERVICE
       I hereby certify that on November 7, 2018, I served this motion by electronically filing it

with this Court’s ECF system, which constitutes service on all attorneys who have appeared in

this case and are registered to use the ECF system.



                                                      /s/ Andrew A. Pinson
                                                      Andrew A. Pinson




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